         Case 1:01-cr-05359-AWI Document 163 Filed 02/23/07 Page 1 of 3



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 6
                             IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,      )                   CASE NO.: CR 1:01-cr-5359 AWI
10                                  )
                     Plaintiff,     )
11                                  )                   STIPULATION AND ORDER
          v.                        )                   RESCHEDULING TRIAL AND MOTIONS
12                                  )                   IN LIMINE
     STEVEN M. GROTE                )
13                                  )
                     Defendant.     )
14   _______________________________)

15

16             The parties, through their respective counsel, agree upon the

17   following facts:

18             1. This case is currently set for trial on March 27, 2007.

19   However, one of government counsel had a trial that recently

20   resulted in a hung jury that is set for re-trial on March 12, 2007.

21   Due to some discovery issues, the government will be requesting

22   that this re-trial be reset for the end of March 2007, putting it

23   even closer to the trial date for the present case.                 The second

24   government counsel has a trial that is currently set for April 3,

25   2007.         This trial date is expected to hold firm.

26             2.       In addition, the parties are attempting to set up meetings

27   between defense counsel and the government attorneys to discuss

28   possible resolution of the case.                 Because of the complexity of the

     Stipulation and Order                        1
         Case 1:01-cr-05359-AWI Document 163 Filed 02/23/07 Page 2 of 3



 1   case, these meetings take considerable preparation.               If successful,

 2   however, these meetings could result in a resolution of this case

 3   without trial.

 4             3.       The defendant is not in custody, and he does not object to

 5   the request that the trial date be reset.

 6             4.       The defendant’s attorney has indicated that he has trials

 7   double set throughout April, May and June.               The parties agree that

 8   this case should be set for trial on July 9, 2007.

 9             5.       In addition, because of the complexity of the case and the

10   trial schedules of both parties, the parties agree that they need

11   additional time for effective preparation of this case for trial.

12             Therefore, the parties agree that the Court can issue the

13   following order:

14             1.            The Jury Trial, presently scheduled for March 27, 2007,

15                           shall be rescheduled for July 9, 2007, at 9:00 a.m.

16             2.            The hearing to consider motions and the trial

17                           confirmation hearing, presently scheduled for March 12,

18                           2007 shall be rescheduled for June 25, 2007.

19             3.            All motions in limine, with supporting points and

20                           authorities, shall be filed and served by 4:00 p.m. on

21                           May 29, 2007.

22             4.            Opposition to any motion in limine shall be filed and

23                           served by 4:00 p.m. on June 11, 2007.

24             5.            Replies to any opposition shall be filed and served by

25                           4:00 p.m. on June 18, 2007.

26             6.            Pre-trial filings required by the Pre-Trial

27                           Order—including witness lists, trial briefs, exhibits,

28                           proposed voir dire questions, notice of the use of

     Stipulation and Order                          2
         Case 1:01-cr-05359-AWI Document 163 Filed 02/23/07 Page 3 of 3



 1                           videotape and computers, and the agreed summary of the

 2                           case—presently due on March 22, 2006, shall be filed by

 3                           4:00 p.m. on July 5, 2007.

 4             7.            Time shall be excluded until July 9, 2007, in the

 5                           interests of justice pursuant to 18 U.S.C.

 6                           §3161(h)(8)(A).

 7   Dated: February 15, 2007                    McGREGOR W. SCOTT
                                                 United States Attorney
 8

 9                                                    /s/ Mark J. McKeon
                                                 ________________________________
10                                               MARK J. McKEON
                                                 Assistant U.S. Attorney
11

12   Dated: February 15, 2007                    Wild, Carter & Tipton

13
                                                      /s/ Steven E. Paganetti
                                                 ________________________________
14
                                                 STEVEN E. PAGANETTI
15                                               Attorneys for Defendant,
                                                 Steven M. Grote
16

17                                               ORDER

18             IT IS SO ORDERED except that the Jury Trial date shall be

19   reschedule to Tuesday, July 10, 2007 at 8:30 a.m.

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21   IT IS SO ORDERED.

22   Dated:         February 20, 2007                 /s/ Anthony W. Ishii
     0m8i78                                     UNITED STATES DISTRICT JUDGE
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     Stipulation and Order                          3
